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                                 #:2588



 1                       UNITED STATES DISTRICT COURT

 2                       CENTRAL DISTRICT OF CALIFORNIA

 3                HONORABLE JOHN W. HOLCOMB, JUDGE PRESIDING

 4     GOLDWATER BANK, NA,                     )
                                               )
 5                                             )
                                               )
 6                             Plaintiff,      )
                                               )
 7                                             )
                                               )
 8                Vs.                          )   No. CV21-00616-JWH
                                               )
 9                                             )
                                               )
10     ARTUR ELIZAROV, ET AL.,                 )
                                               )
11                                             )
                                               )
12                                             )
                               Defendants.     )
13                                             )
       ________________________________
14

15

16          REPORTER'S TRANSCRIPT OF VIDEO CONFERENCE PROCEEDINGS

17                          MOTION HEARING VIA ZOOM

18                            RIVERSIDE, CALIFORNIA

19                           MONDAY, OCTOBER 25, 2021

20

21

22

23                     MIRIAM V. BAIRD, CSR 11893, CCRA
                     OFFICIAL U.S. DISTRICT COURT REPORTER
24                    350 WEST FIRST STREET, FOURTH FLOOR
                         LOS ANGELES, CALIFORNIA 90012
25                             MVB11893@aol.com



                          UNITED STATES DISTRICT COURT       Exhibit NN - 1
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                                                                            29


 1     with Elizarov that covered the subject matter of Elizarov's

 2     obligations to repay the Goldwater loan, end quote.          And I'm

 3     quoting from the motion, page 10, lines 1 through 3.

 4                  To support that argument Mr. Elizarov quotes from

 5     the Rutherford Holdings case, 223 Cal App 4th, 221.          It's a

 6     2014 case.    And I quote:    An action based on an implied in

 7     fact or quasi contract cannot lie where there exists between

 8     the parties a valid express contract covering the same

 9     subject matter, end quote.

10                  Mr. Elizarov is correct in arguing that a party

11     cannot recover under both express contract and quasi

12     contract.    Mr. Elizarov omits, however, that the Court in

13     Rutherford Holdings makes clear that a, quote, claim for

14     restitution is permitted even if the party inconsistently

15     pleads a breach-of-contract claim that alleges the existence

16     of an enforceable agreement, end quote.

17                  Goldwater Bank's unjust enrichment claim is

18     therefore appropriate under this alternate pleading ruling.

19                  Third, the claim for fraud.     As you can probably

20     tell from my earlier questioning, I regarded this as a close

21     call, but I'm going to deny the motion, Mr. Elizarov's motion

22     attacking the fraud claim, the third claim for relief in the

23     first amended complaint as well.

24                  To establish a claim for deceit based on

25     intentional misrepresentation, in California a plaintiff must



                          UNITED STATES DISTRICT COURT       Exhibit NN - 2
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                                                                            58


 1                                  CERTIFICATE

 2     I HEREBY CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

 3     TRANSCRIPT OF THE STENOGRAPHICALLY RECORDED PROCEEDINGS IN

 4     THE ABOVE MATTER.

 5     FEES CHARGED FOR THIS TRANSCRIPT, LESS ANY CIRCUIT FEE

 6     REDUCTION AND/OR DEPOSIT, ARE IN CONFORMANCE WITH THE

 7     REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

 8

 9     /s/ Miriam V. Baird                  01/10/2022

10     MIRIAM V. BAIRD                            DATE
       OFFICIAL REPORTER
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                          UNITED STATES DISTRICT COURT       Exhibit NN - 3
